       Case: 23-16176, 05/01/2025, ID: 12928218, DktEntry: 72, Page 1 of 2

                                                                                                       Benjamin I. Siminou
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                                           May 1, 2025

Molly Dwyer, Clerk of Court                                                  Via ECF / ACMS
U.S. COURT OF APPEALS FOR THE NINTH CIRCUIT
P.O. Box 193939
San Francisco, CA 94119-3939

Re: Pamela Siino v. Foresters Life Insurance and Annuity
    Company (Case Nos. 23-16176 and 23-16189)
    Recent Authority Letter (Fed. R. App. P. 28(j)

Dear Ms. Dwyer,

     We write to identify two recent developments supporting Appellee
Pamela Siino’s request for certification to the California Supreme
Court. (ECF No. 49.)

      First, the California Supreme Court accepted certification of a
question of state law concerning the Statutes in Pitt v. Metropolitan
Tower Life Ins. Co., 129 F.4th 583 (9th Cir. 2025). (See Ex. A.) There
was significant amicus support for certification in Pitt, including to
provide controlling California authority on the causation issue this
Court addressed, without controlling precedent, in Small v. Allianz Life
Ins. Co., 122 F.4th 1182 (9th Cir. 2024).

      When interpreting the Statutes in Pitt, the California Supreme
Court has expansive authority to consider the causation issue raised in
this case. See Cal. Rule of Court 8.548(f). In McHugh v. Protective Life
Ins. Co., 12 Cal. 5th 213 (2021), the court provided extensive guidance
on the Statutes. When interpreting the Statutes in Pitt, the court is
similarly likely to provide extensive guidance. It naturally flows from
the Pitt certified question, asking whether the Statutes apply, to
consider, as Siino raises, how the Statutes apply.



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         Case: 23-16176, 05/01/2025, ID: 12928218, DktEntry: 72, Page 2 of 2

                                                             Molly Dwyer, Clerk of Court
                                                     Re: Pamela Siino v. Foresters Life Ins.
                                                                              May 1, 2025
                                                                                    Page 2



      Second, the U.S. Supreme Court is considering a certiorari
petition challenging this Court’s refusal to certify a question of state
law to the California Supreme Court. This petition (filed by the same
counsel representing Allianz Life Insurance Company of North America
in Small) argues that a circuit split on certification standards warrants
review at the highest level. (See Ex. B.) The Supreme Court recently
ordered the respondent, after a waiver, to address the petition.
Premium Nutrition Corp. v. Montera, No. 24-999 (Apr. 9, 2025).

      If certiorari is granted in Premium Nutrition, Siino expects to seek
certiorari herself to preserve the option of remand to this Court to
revisit whether her motion to certify (ECF No. 49), should have been
granted.

      Given the Pitt certification and possible review of certification
standards in Premium Nutrition, this Court should certify the causation
question to the California Supreme Court. Failing that, it should defer
ruling on Siino’s petition for rehearing, to be filed May 15, and issuance
of the mandate until the outcome of those cases.1

                                    Sincerely,

                           /s/ Benjamin I. Siminou
                             Benjamin I. Siminou
                          SINGLETON SCHREIBER, LLP




     1     The body of this letter is 350 words and therefore complies
with the length limit under Fed. R. App. P. 28(j) and Cir. R. 28-6.
